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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

TEYONNA S. GWYN,

               Plaintiff,

      vs.                                                   CIV. ACTION NO. ______________

PUBLIX SUPER MARKETS, INC.,                                 JURY TRIAL DEMANDED
doing business as Publix,
RONALD TODD, and
CRYSTAL PHELPS,

               Defendants.


                               COMPLAINT FOR DAMAGES

      COMES NOW Plaintiff Teyonna S. Gwyn (“Plaintiff” or “Gwyn”), by and

through the undersigned counsel of record, and hereby files this Complaint for

Damages against Defendants Publix Super Markets, Inc., doing business as Publix,

Ronald Todd, and Crystal Phelps (collectively, “Defendants”), respectfully showing

the Court as follows:




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                                JURISDICTION AND VENUE

                                                   1.

      The above-captioned case is commenced pursuant to: (a) 42 U.S.C. §§ 2000e,

et seq., Title VII of the Civil Rights Act of 1964, as amended, (“Title VII”) for

pregnancy discrimination, sex/gender discrimination, and retaliation; (b) the

Americans with Disability Act of 1990, as amended, 42 U.S.C. §§ 12101, et seq.,

(“ADA”) for pregnancy discrimination and retaliation; and (c) the laws of the State

of Georgia for intentional infliction of emotional distress, as well as negligent

retention and supervision.

                                                   2.

      This Court has original jurisdiction over Plaintiff’s Title VII and ADA claims

pursuant to 28 U.S.C. § 1331 and supplemental jurisdiction over Plaintiff’s State law

claim pursuant to 28 U.S.C. § 1367.

                                                   3.

      Venue is proper in this District and Division pursuant to 28 U.S.C. § 1391(b)

because Defendants reside and maintain a place of business in the Northern District

of Georgia, Atlanta Division, and the unlawful employment practices forming the

basis of the Complaint occurred in this District and Division.



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                                                   4.

      Plaintiff satisfied all administrative prerequisites to institute this action.

Specifically, Plaintiff timely filed a Charge of Discrimination with the Equal

Employment Opportunity (“EEOC”) within one-hundred-and-eighty (180) calendar

days from the day the discrimination took place (Charge No. 410-2021-02087) and

Plaintiff has timely commenced the above-captioned case within ninety (90) days of

receipt of the Notice of Right to Sue, dated May 7, 2021.

                                                PARTIES

                                                   5.

      Gwyn is a female citizen of the United States, resident of the State of Georgia,

and entitled to bring an action of this nature and type.

                                                   6.

      Gwyn is a resident of the Northern District of Georgia and is subject to this

Court’s jurisdiction.

                                                   7.

      At all times relevant to the above-captioned case, Gwyn was an employee of

Publix Super Markets, Inc., doing business as Publix, within the meaning of, inter

alia, Title VII and the ADA.



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                                                  8.

      Defendant Publix Super Markets, Inc., doing business as Publix, (“Publix”)

is foreign profit corporation (Control Number K021853) authorized to do, and is

actually doing, business in the State of Georgia.

                                                   9.

      Publix is an employee-owned supermarket chain operating throughout the

Southeast United States, including, but not limited to, Store No. 508 located at

1905 Scenic Highway N, Suite 4000, Snellville, Georgia 30078-5635 (“Store No.

508”), with a corporate headquarters in Lakeland, Florida.

                                                   10.

      Publix may be served with Summons and this Complaint for Damages via

its Registered Agent, Corporate Creations Network, Inc., 2985 Gordy Parkway,

1st Floor, Marietta, Georgia 30066.

                                                   11.

      Publix is and was, at all relevant times, a private employer engaged in an

industry affecting commerce within the meaning of Title VII and the ADA,

employing more than fifty (50) employees for each working day in each of twenty

(20) or more calendar weeks in the current and preceding calendar years.



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                                                   12.

      Defendant Ronald Todd (“Todd”) is and was, at all relevant times, a citizen

of the United States, resident of the State of Georgia, and subject to the jurisdiction

of this Court.

                                                   13.

      Todd is and was, at all relevant times, an employee of Publix, Manager of

Store No. 506, involved in the day-to-day operation of Publix, and regularly

exercised authority to: (a) hire and terminate employees, (b) determine the schedules

and assignments for employees, (c) supervise employees, and (d) otherwise control

operation of Publix.

                                                   14.

      Todd is an employee of Publix and, at all relevant times, Todd was Gwyn’s

Manager, who participated in the unlawful discriminatory and tortious conduct

described herein

                                                   15.

      Todd may be served with process at Publix Store No. 508 located at 1905

Scenic Highway N, Suite 4000, Snellville, Georgia 30078-5635.




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                                                   16.

      Defendant Crystal Phelps (“Phelps”) is and was, at all relevant times, a citizen

of the United States, resident of the State of Georgia, and subject to the jurisdiction

of this Court.

                                                   17.

      Phelps is and was, at all relevant times, an employee of Publix, Assistant

Manager of the Bakery Department at Store No. 506, involved in the day-to-day

operation of Publix, and regularly exercised authority to: (a) hire and terminate

employees, (b) determine the schedules and assignments for employees, (c)

supervise employees, and (d) otherwise control operation of Publix.

                                                   18.

      Phelps is an employee of Publix and, at all relevant times, Phelps was Gwyn’s

direct supervisor, who participated in the unlawful discriminatory and tortious

conduct described herein

                                                   19.

      Phelps may be served with process at Publix Store No. 508 located at 1905

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                                    STATEMENT OF FACTS

                                                    20.

       Publix is an employee-owned supermarket chain operating throughout the

Southeast United States, including, but not limited to, Store No. 508 located at

1905 Scenic Highway N, Suite 4000, Snellville, Georgia 30078-5635.

                                                    21.

       Gwyn is a twenty-eight (28) year old female and, at all relevant times, Gwyn

was pregnant.

                                                    22.

       At all relevant times, Gwyn was a qualified individual under, inter alia, the

ADA.

                                                    23.

       After graduating from high school, Gwyn attended Le Cordon Bleu in Tucker,

Georgia, where Gwyn received a certificate in Culinary Arts with a minor in Baking

and Pastry in August 2013.




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                                                      24.

         Before working for Publix, Gwyn was employed as a Breakfast and Line Cook

with Embassy Suites, Pastry and Banquet Cook with Ruth’s Chris Steak House,

Cook with Emory Healthcare, Lead Cook with Kids R Kids Learning Academy,

Lead Cook with the Suzuki School, as well as Cook and Dessert Counter Associate

with Kaleidoscope Kids Camp.

                                                      25.

         In addition to formal education and extensive professional experience, Gwyn

completed several professional assessments, is certified in cake decorating from

Wilton, and possesses a food handlers permit.

                                                      26.

         In or about June 2020, Gwyn became pregnant.

                                                      27.

         On or about August 30, 2020, Gwyn began working for Publix at Store No.

508 as a Cake Decorator, responsible for, inter alia, decorating pastries and baked

goods according to Publix policy and customer preference, customer service,

completing orders, selling products, operating bakery machinery, organizing

inventory and stock, training other associates, as well as other assigned duties and

tasks.

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                                                   28.

      At all relevant times, Gwyn diligently performed all tasks while meeting or

exceeding all performance expectations as a Cake Decorator—Gwyn consistently

received accolades for great customer service.

                                                   29.

      In September 2020, Gwyn notified Todd—Store No. 508 Manager—and

Phelps—Store No. 508 Assistant Manager in Bakery Department—of Gwyn’s

pregnancy. Todd responded that Gwyn “must be joking.” Despite Todd’s response,

Gwyn continued to perform diligently and professionally.

                                                   30.

      While employed by Publix, Gwyn became visibly pregnant and Gwyn

repeatedly confirmed and acknowledged Gwyn’s pregnancy.

                                                   31.

      In or about September-October 2020, Gwyn provided Todd and Phelps with

documentation from Gwyn’s healthcare provider stating that, due to Gwyn’s

pregnancy, Gwyn could not lift more than ten (10) pounds (“Request for Reasonable

Accommodation”).




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                                                   32.

      Despite knowledge of Gwyn’s pregnancy and the Request for Reasonable

Accommodation, Defendants continued to dangerously overwork and force Gwyn

to engage in dangerous activities. Specifically, Gwyn was required to use and climb

a ladder in the slippery, wet freezer to remove inventory and other items. In this

regard, Gwyn reminded Phelps of the Request for Reasonable Accommodation and

advised Phelps that Gwyn was fearful of injury related to these dangerous activities.

Nevertheless, Phelps simply repeatedly asked if Gwyn wanted to go home. Because

Gwyn was afraid to climb the slippery, wet ladder, on or about October 14, 2020,

Phelps sent Gwyn home.

                                                   33.

      Almost immediately after Gwyn provided the Request for Reasonable

Accommodation and refused to climb the slippery, wet ladder, Defendants reduced

Gwyn’s hours. Initially, Gwyn’s hours were reduced from 35 to 30 hours per week.

Then, Gwyn’s hours were reduced to approximately ten (10) hours per week.

Ultimately, Gwyn was completely removed from the work schedule.




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                                                   34.

      After Gwyn was not placed on the work schedule for Store No. 508, Gwyn

called to inquire about the schedule and the Assistant Manager, Ginger, stated that

Todd instructed her to place Gwyn on leave due to “pregnancy problems.”

                                                   35.

      Subsequently, Gwyn complained to Todd about the reduction of hours

following the Request for Reasonable Accommodation and refusal to climb the

slippery, wet ladder. Todd responded that Todd would talk to Phelps about the

schedule and that “changes were coming.” When the schedule was not changed,

Gwyn approached Phelps, who stated that, every time Phelps made the schedule,

Todd changed the schedule. Gwyn then returned to Todd, who denied Phelps’

assertion and stated that Phelps was responsible for the schedule. Despite the finger-

pointing, Gwyn complained that, although the Department was short-staffed,

Gwyn’s hours were still reduced. After Todd stated that Gwyn should be scheduled

due to short-staffing, Gwyn again approached Phelps, who stated that Defendants

hired additional employees and that Phelps gave the new employees the hours

previously allotted for Gwyn. When Gwyn protested based upon seniority and the

need to train the new employees, Phelps admitted that Gwyn’s hours were reduced

because Gwyn was pregnant and Gwyn was “about to go be a mom.”

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                                                   36.

      As a result of Defendants’ termination of Gwyn’s employment due to the

pregnancy, Gwyn began experiencing severe emotional distress and depression.

Gwyn was fearful and anxious about how Gwyn would feed her children and pay

her bills after Defendants terminated Gwyn’s employment due to pregnancy.

Consequently, Gwyn began communicating with a therapist.

                                                   37.

      Prior to the discriminatory termination of employment described herein,

Gwyn had not received negative performance reviews, disciplinary actions, or

complaints concerning Gwyn’s professional performance.

                                                   38.

      Under no uncertain terms, Defendants terminated Gwyn’s employment and

punished Gywn based solely upon Gwyn’s pregnancy.

                                                   39.

      Other employees and individuals, outside of Gwyn’s protected class, were

treated differently because these employees and individuals, who were not pregnant,

were not terminated or otherwise subjected to adverse employment actions

associated with the Request Reasonable Accommodations and/or the refusal to

engage in dangerous conduct while pregnant.

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                                                   40.

      Gwyn was qualified and capable of continuing employment as a Cake

Decorator despite the pregnancy.

                                                   41.

      As a result of Defendants’ unlawful actions, Gwyn has suffered, among

other things, lost wages and benefits, as well as severe emotional distress.

                                     CLAIMS FOR RELIEF

                              COUNTS I AND II:
                         PREGNANCY DISCRIMINATION
                     IN VIOLATION OF TITLEVII AND ADA
                           (Against Defendant Publix)

                                                   42.

      Gwyn re-alleges and incorporates, by reference, each and every preceding

Paragraph of the Complaint as if set forth fully herein.

                                                   43.

      Title VII and the ADA prohibit employers from discriminating against

employees because of pregnancy.




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                                                   44.

      Defendants violated Title VII and the ADA, such that a cause of action exists

where discrimination on the basis of pregnancy was the causative agent of adverse

actions directed at Gwyn by Defendants.

                                                   45.

      At all relevant times, Gwyn was a pregnant female, qualified individual under

the ADA, employee of Publix, and a member of a protected class under Title VII

and the ADA.

                                                   46.

      At all relevant times, Gwyn was qualified for her position, and capable of

performing, as a Cake Decorator.

                                                   47.

      At all relevant times, Publix was Gwyn’s employer, as defined by Title VII

and ADA.

                                                   48.

      At all relevant times, Todd was Store Manager and Phelps was Assistant

Manager of Store No. 508, as well as Gwyn’s direct supervisors, responsible for,

among other things, assigning duties and terminating Gwyn’s employment.



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                                                    49.

       With the knowledge that Gwyn’s was pregnant, Defendants required Gwyn to

perform dangerous duties and tasks.

                                                    50.

       Almost immediately after Gwyn provided the Request for Reasonable

Accommodation, Defendants reduced Gwyn’s hours before ultimately terminating

Gwyn’s employment.

                                                    51.

       Phelps admitted that Gwyn’s hours were reduced, effectively terminating

employment, because Gwyn was pregnant and Gwyn was “about to go be a mom.”

                                                    52.

       With the knowledge that Gwyn’s was pregnant, Defendants terminated

Gwyn’s employment solely because of Gwyn’s pregnancy.

                                                    53.

       Defendants’ termination of Gwyn’s employment due to pregnancy constitutes

unlawful discrimination on the basis of pregnancy in violation of Title VII and the

ADA.




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                                                   54.

      As a result of the termination of employment based solely upon Gwyn’s

pregnancy, Gwyn was treated less-favorably than similarly-situated, non-pregnant

employees of Publix in violation of Title VII and the ADA.

                                                   55.

      Defendants willfully and wantonly disregarded Gwyn’s rights.

                                                   56.

      Defendants discriminated against Gwyn in bad faith.

                                                   57.

      The effect of the conduct complained of herein has been to deprive Gwyn of

equal employment opportunity and to otherwise adversely affect Gwyn’s status as

an employee solely because of Gywn’s pregnancy.

                                                   58.

      As a direct and proximate result of Defendants’ intentional violation of Title

VII and the ADA, Gwyn has been made the victim of acts that have adversely

affected Gwyn’s psychological and physical well-being and, therefore, Defendants

are liable for these damages.




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                                     COUNT III:
                            SEX/GENDER DISCRIMINATION
                             IN VIOLATION OF TITLE VII
                              (Against Defendant Publix)

                                                   59.

      Gwyn re-alleges and incorporates each and every preceding Paragraph of the

Complaint as if set forth fully herein.

                                                   60.

      Title VII prohibits employers from discriminating against employees because

of gender/sex.

                                                   61.

      Defendants violated Title VII, such that a cause of action exists where

discrimination on the basis of gender/sex was the causative agent of adverse actions

directed at Gwyn by Defendants.

                                                   62.

      During the course of employment, Defendants unlawfully and knowingly

discriminated against Gwyn based upon her gender/sex, and treated Camp less-

favorably than similarly-situated male employees in violation of Title VII.




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                                                   63.

      Gwyn, as a twenty-eight year old African-American female, is a member of a

protected group.

                                                   64.

      From about August 2020 until about November 2020, an employer-employee

relationship existed between Gwyn and Publix, such that Gwyn was an “employee”

and Publix was an “employer” within the meaning Title VII.

                                                   65.

      Beginning in or about August 2020, Gwyn was employed as a Cake Decorator

with Publix.

                                                   66.

      During the course of Gwyn’s employment as a Cake Decorator, Publix’s

employees mocked Gwyn, forced Gwyn to engage in dangerous activities,

threatened to terminated Gwyn’s employment, reduced Gwyn’s hours, and

terminated Gwyn’s employment based upon gender/sex.

                                                   67.

      Despite Defendants’ knowledge of Gwyn’s pregnancy and Request for

Reasonable Accommodation, Defendants terminated Gwyn’s employment without

cause or justification while during Gwyn’s pregnancy.

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                                                   68.

      The discrimination to which Gwyn was subjected to by Defendants was based

upon gender/sex in violation of Title VII and, thus, Gwyn is entitled to all

appropriate relief provided under the law.

                                                   69.

      Defendants’ actions constituted discrimination and disparate, adverse

treatment based upon gender/sex such that the intentional actions by Defendants

adversely impacted Gwyn’s terms, conditions, and privileges of employment.

                                                   70.

      Defendants’ actions created a hostile work environment based upon

gender/sex such that the intentional actions by Defendants adversely impacted

Gwyn’s terms, conditions, and privileges of employment.

                                                   71.

      Defendants’ discriminatory conduct was accomplished pursuant to an

unofficial policy, practice, and/or custom of Publix.




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                                                   72.

      As a direct and proximate result of Defendants’ intentional and unlawful

conduct, which was intended to cause Gwyn harm and/or was committed with

reckless disregard of the harm caused to Gwyn, in derogation of her Federally-

protected rights, Gwyn suffered and continue to suffer emotional pain and suffering,

mental anguish, humiliation, loss of enjoyment of life, embarrassment, danger to

their reputation, and other pecuniary loses.

                                                   73.

      Defendants’ intentional and illegal conduct entitles Gwyn to compensatory

damages, as well as any and all other remedies available under Title VII.

                                                   74.

      Defendants’ actions with regard to Gwyn demonstrate willful misconduct,

malice, fraud, wantonness, oppression, and a complete lack of care and, therefore,

Gwyn is entitled to an award of punitive damages to deter, punish, and penalize

Defendants for and from similar future conduct.




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                              COUNTS IV AND V
                               RETALIATION
                   IN VIOLATION OF TITLE VII AND THE ADA
                               (Against Publix)

                                                    75.

       Gwyn re-alleges and incorporates by reference each of the foregoing

paragraphs as if fully restated herein.

                                                    76.

       The Title VII and the ADA prohibit retaliation against an employee who

opposes discrimination on the basis of, inter alia, gender, pregnancy, and/or

disability.

                                                    77.

       Gwyn requested a reasonable accommodation for her qualified disability that

impaired one or more major life activities, conduct protected by Title VII and the

ADA.

                                                    78.

       After learning of Gwyn’s pregnancy, Defendants forced Gwyn to utilize a

dangerous, slippery, and wet ladder, as well as lift heavy items, which Defendants

knew were prohibited by Gwyn’s healthcare provider and the Request for

Reasonable Accommodation.


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                                                   79.

      Following Gwyn’s objection and request to continue performing under the

Request for Reasonable Accommodation, Defendants immediately reduced Gywn’s

hours before ultimately terminating Gwyn’s employment.

                                                   80.

      Defendants’ adverse employment actions against Gwyn constitute unlawful

retaliation against Gwyn in violation of Title VII and the ADA.

                                                   81.

      Defendants’ retaliatory actions were willful, deliberate, and intended to cause

Gwyn harm and/or were committed with reckless disregard of the harm causes to

Gwyn in derogation of Gwyn’s Federally-protected rights.

                                                   82.

      As a direct and proximate result of Defendants’ retaliation, Gwyn has suffered

financial losses, been deprived of employment, and otherwise lost compensation in

the form of, inter alia, wages, insurance, retirement benefits, social security benefits,

and other due benefits.




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                                                   83.

      Defendants’ retaliation has also caused, continues to cause, and will cause

Gwyn to suffer injuries, warranting an award of compensatory and punitive damages

in an amount to be determined at trial.

                                                   84.

      Gwyn is entitled to recover attorney’s fees and litigation expenses.

                              COUNT VI:
        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
      IN VIOLATION OF THE LAWS OF THE STATE OF GEORGIA
              (Against Defendants Publix, Todd, and Phelps)

                                                   85.

      Gwyn re-alleges and incorporates, by reference, each and every preceding

Paragraph of the Complaint as if set forth fully herein.

                                                   86.

      Defendants’ statements, conduct, and behavior towards Gwyn were

intentional and reckless, extreme and outrageous, causing Gwyn severe shame,

humiliation, embarrassment, and emotional distress of a nature that no pregnant

person should endure.




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                                                   87.

      Defendants’ statements, conduct, and behavior towards Gwyn demonstrate,

among other things, a “retaliatory animus.”

                                                   88.

      At all relevant times, the Parties had a special, employer-employee

relationship, wherein Defendants had control over Gwyn and Gwyn’s income and/or

livelihood during Gwyn’s pregnancy.

                                                   89.

      When engaging in the intentional, reckless, extreme, and outrageous conduct

towards Gwyn, Defendants knew that Gwyn was pregnant.

                                                   90.

      Despite knowledge of Gwyn’s pregnancy, Defendants forced Gwyn to choose

between the safety of her unborn child and continued employment.



                                                   91.

      Defendants knew or should have known that such conduct would result in the

severe emotional distress suffered by Gwyn.




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                                                    92.

       As a result of Defendants’ conduct, Gwyn has and will continue to suffer

severe emotional distress and other damages for which Gwyn is entitled to recover.

                                  COUNT VII
                  NEGLIGENT RETENTION AND SUPERVISION
                      IN VIOLATION OF GEORGIA LAW
                           (Against Defendant Publix)

                                                    93.

       Gwyn re-alleges and incorporates by reference each of the foregoing

paragraphs as if fully restated herein.

                                                    94.

       As a result of the actions taken by Todd and Phelps, Gwyn suffered, among

other things, discrimination based on pregnancy and disability, as well as

retaliation.

                                                    95.

       Publix owed Gwyn a duty to hire, retain, and supervise employees who would

lawfully conduct themselves and not engage in discriminatory, retaliatory, or

tortious conduct.




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                                                   96.

      By negligently retaining and supervising its employees, including Todd and

Phelps, Publix breached its duty to hire, retain, and supervise an employee who

would lawfully behave.

                                                   97.

      Publix knew or, in the exercise of ordinary diligence, should have known of

the propensity of its employees, to engage in unlawful conduct against Gwyn.

                                                   98.

      By failing to engage in any corrective or remedial action, Publix ratified,

condoned, and/or adopted its employees’ unlawful conduct.

                                                   99.

      As a direct and proximate result of Publix’s negligent retention and

supervision of its employees, as well as the failure to take any remedial or corrective

action with respect to the known unlawful actions taken by Publix’s employees,

including Todd and Phelps, Gwyn suffered damages.

                                                   100.

      Publix’s negligent conduct entitles Gwyn to compensatory damages, punitive

damages, as well as any and all other remedies available under the law.



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                                  PRAYER FOR RELIEF

 WHEREFORE, Plaintiff respectfully requests that this Court:

 (1)      Grant Plaintiff a trial by jury as to all triable issues of fact;

 (2)      Grant declaratory judgment that Plaintiff’s rights under Title VII, the

          ADA, and Georgia law were violated;

 (3)      Grant an injunction prohibiting the Defendants from engaging in such

          unlawful conduct in the future;

 (4)      Award compensatory damages in an amount to be determined by a jury;

 (5)      Award appropriate back wages, future wages, and compensation for

          other damages in amounts to be shown at trial;

 (6)      Award prejudgment interest on any award of back pay;

 (7)      Award liquidated damages;

 (8)      Award punitive damages in an amount reasonable and commensurate

          with the harm done and calculated to deter such conduct in the future;

 (9)      Award Plaintiff’s attorneys’ fees, costs, and disbursements; and

 (10) Award Plaintiff such further and additional relief as may be just and

          appropriate.



                 [SIGNATURE ON THE FOLLOWING PAGE]

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 Respectfully submitted, this 13th day of July, 2021.
                                     MOLDEN & ASSOCIATES


                                      /s/ Regina S. Molden
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                                     T. ORLANDO PEARSON
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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

TEYONNA S. GWYN,

               Plaintiff,

      vs.                                                   CIV. ACTION NO. ______________

PUBLIX SUPER MARKETS, INC.,                                 JURY TRIAL DEMANDED
doing business as Publix,
RONALD TODD, and
CRYSTAL PHELPS,

               Defendants.


                LOCAL RULE AND SERVICE CERTIFICATION

      The undersigned certifies that this document has been prepared with a font

and point selections approved by the Court in Local Rule 5.1(B) and that the

foregoing Complaint for Damages has been filed with the Clerk using the CM/ECF

system which will notify to the attorney(s) of record.

      Respectfully submitted, this 13th day of July, 2021.

                                                   MOLDEN & ASSOCIATES


                                                   T. ORLANDO PEARSON
                                                   Georgia Bar No. 180406



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